43 F.3d 1468
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jean McCLURE THOMAS, Plaintiff Appellant,v.STAUNTON FARM CREDIT, ACA, Defendant Appellee.
    No. 94-1798.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 10, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Harrisonburg.  James H. Michael, Jr., District Judge.  (CA-94-13, BK-93-362-RWK)
      Jean McClure Thomas, appellant Pro Se.  William Entenmann Shmidheiser, Wharton, Aldhizer &amp; Weaver, Harrisonburg, VA, for appellee.
      W.D.Va.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    